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                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION


                                              §
UNITED STATES OF AMERICA,
                                              §
        Plaintiff,                            §
                                              § Cr. No. 4:21cr 009 GCH
   v.                                         §
                                              §
ROBERT T. BROCKMAN,                           §
        Defendant.                            §
                                              §
                                              §


                        UNITED STATES’ OPPOSITION TO
                        TANGARRA’S MOTION TO STRIKE

        The United States opposes Petitioner Tangarra Consultants Limited’s Motion to

Strike (ECF #87, the “Motion”) all references to Tangarra from the Indictment. The

Motion should be denied because (1) foreign corporate entities with no property in the

United States are not entitled to constitutional protection; and (2) the Indictment refers to

Tangarra only as an instrumentality of Defendant’s crimes and does not accuse Tangarra

of wrongdoing.
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                               FACTUAL BACKGROUND

         Tangarra Consultants, Ltd. (“Tangarra”) is a Bermudian entity that Evatt Tamine

incorporated in 2003, when Defendant hired Tamine to manage his offshore structure (the

“Brockman Structure”). Tamine created Tangarra to facilitate his work for Defendant—

specifically he created the entity so that he could obtain a Bermudian work permit and have

a vehicle for Defendant to pay him. See Affidavit of Evatt Tamine, July 4, 2020, attached

herein as Exhibit 1, para. 73. On paper, Tangarra received consultancy fees from another

entity, but Tamine was Defendant’s employee—he reported to Defendant, acted in

accordance to Defendant’s instructions, and had his pay determined by Defendant. Id., at

74 and 78. After Defendant determined Tamine’s pay, Tamine would draw the agreed

upon amount into a Tangarra account.

         On paper, Tangarra was an independent corporation, but it was actually a tool of the

Brockman Structure. See Exhibit 2, para. 5, Declaration of Special Agent Ted Lair. For

example, Tamine and Defendant used Tangarra to pay Tamine’s predecessor, Don Jones,

using the entity to route a $200,000 annual retirement payment to Jones. See Exhibit 3.

Tangarra was also used to make payments on behalf of other entities in the Brockman

Structure when their accounts were frozen. See Exhibit 4.

         In 2010, Defendant instructed Tamine to purchase Reynolds and Reynolds debt on

the secondary market. See Exhibit 5, p. 4. As alleged in the Indictment, Tamine contacted

Deutsche Bank and asked to open a trading account in the name of Edge Capital

Investments, Limited (“Edge”). See Exhibit 6. He further informed Deutsche Bank in a

signed statement that Tangarra was Edge’s fund manager. Id. As part of the account

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opening process Tamine represented that he was the controlling person for Tangarra and

that Peter Poole was the controlling person for Edge. Id.1

                                       ARGUMENT

         The Motion should be denied because it takes three wholly unsupported positions.

First, the Motion assumes without citing any cases that a foreign, paper entity is entitled to

substantive due process rights in U.S. courts. Second, the Motion misreads the Indictment

and incorrectly asserts that the Indictment refers to Tangarra as an unindicted co-

conspirator. Finally, the Motion attempts to bolster its claimed grievance with the incorrect

assertion that the Indictment contains false information. For the reasons stated below, none

of the three positions are correct and the motion should be denied.

         I.       Tangarra Does Not Have Due Process Rights Because It Is
                  a Foreign Entity with No Property in the United States.

         As a threshold matter, Tangarra’s motion should be denied because it is a foreign

entity with no stated ties to the United States. “[I]t is long settled as a matter of American

constitutional law that foreign citizens outside U.S. territory do not possess rights under

the U.S. Constitution.” USAID v. All. For Open Soc’y Int’l, Inc., 494 U.S. 259, 269 (2020).

The Supreme Court has repeatedly held that individuals and entities that are not located in

the United States are not entitled to the same constitutional protections as U.S. citizens or

persons located within the United States. See United States v. Verdugo-Urquidez, 494 U.S.

259, 271 (1990) (“[A]liens receive constitutional protections when they have come within



1
 Evatt Tamine, the founder and sole shareholder of Tangarra, provided all of the exhibits
cited herein to the government with the exception of the two affidavits.

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the territory of the United States and developed substantial connections with the country.”);

Zadvydas v. Davis, 533 U.S. 678, 693 (2001) (“It is well established that certain

constitutional protections available to person inside the United States are unavailable to

aliens outside of our geographic borders.”). Indeed, “[a] foreign entity without property or

presence in this country has no constitutional rights, under the due process clause or

otherwise.” People’s Mojahedin Org. of Iran v. United States Dep’t of State, 182 F.3d 17,

22 (D.C. Cir. 1999), cert. denied 529 U.S. 1104.

         In People’s Mojahedin Org., the Secretary of State designated the petitioners as “a

foreign organization engaging in terrorist activities that threaten the national security of the

United States.” Id. at 19. This designation made it a crime to donate to the petitioners’

organizations and barred alien members or representatives of the organizations from

admission to the United States. Id. Petitioners argued that this denied them of due process

rights. In denying their claim, the D.C. Circuit specifically distinguished petitioners as

foreign organizations from cases involving domestic entities and expressly held that

foreign entities are not entitled to constitutional protections. Id. at 22.

         Here, as the Motion concedes in its first sentence, Tangarra is a Bermudian entity.

Tangarra does not allege that it has property in the United States or that it presently

conducts any business in the United States. This alone is fatal to the Motion.




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         II.      The Motion Should be Denied Because the Indictment Does
                  Not Accuse Tangarra of Wrongdoing

         The Motion must also fail because it is premised on the false assumption that the

Indictment accuses Tangarra of wrongdoing. It does not.2 The Indictment alleges that (1)

Brockman “us[ed] Edge and Tangarra to purchase Debt, and conceal[ed] the fact that Edge,

Tangarra, and Individual One were controlled by Brockman” (Indictment, ECF 2, at ¶ 165);

that Defendant affirmatively concealed from the sellers of the Debt that “the Debt

purchasers Edge and Tangarra were under common control with [Dealer Computer

Services]” (id. at ¶ 166); and (3) Individual One made false representations to Deutsche

Bank employees that did not disclose Defendant’s control of Edge and Tangarra (id. at

¶ 176).

         The Indictment does not claim that Tangarra did anything. On the contrary, each of

these paragraphs alleges that Defendant, or his agent, used Tangarra to accomplish his

objectives.       That is, where Tangarra is mentioned in the Indictment it is as an

instrumentality of the Defendant’s conduct and not as an independent agent. Indeed, the

Indictment specifically alleges that Tangarra, Edge, and Individual One were controlled by

Defendant.

         What Tangarra appears to be arguing is that it has a right not to be mentioned in an

Indictment. But if the government does not accuse a party of wrongdoing, the Due Process

clause is not violated. See United States v. Korean Air Lines Co., 505 F.Supp.2d 91, 96


2
 And would not, as the government’s view of the evidence is that Tangarra is not a
substantive corporation, but merely a paper entity used by the Brockman Structure.

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(D.D.C. 2007); Application of Johnson, 484 F.2d 791, 793 (7th Cir. 1973). Because of the

complexity of the Brockman Structure, Tangarra is just one of thirteen separate entities

named in the Indictment. Although Tangarra would have this Court rule that each of those

entities has a right to be described anonymously, the Motion provides no support for such

a sweeping proposition.

         Indeed, as described above, because Tangarra has only an ephemeral existence as a

paper corporate entity established simply to employ and pay Tamine, its interest in its

“good name” and “reputation” are not as compelling a natural born person. See e.g., United

States v. Morton Salt Co., 338 U.S. 632, 652 (1950) (“[C]orporations can claim no equality

with individuals in the enjoyment of a right to privacy.”); United States v. Driscoll, 445

F.Supp. 868 (D.N.J. 1978) (finding that an estate cannot seek expungement because the

identification of the deceased as an unindicted co-conspirator was inevitable and the

deceased obviously could no longer be indicted). Indeed, the Motion does not even allege

any harm that Tangarra has suffered as a result of being mentioned in the Indictment. This

major standing problem, in conjunction with the major standing problem addressed in

Section I, is likely why Tangarra is unable to find a single case where an entity like it

obtained (or even sought) the type of relief it seeks.




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         III.     The Indictment is Not False

         The Motion incorrectly alleges that the core allegations against Tangarra are false.

While it is true that Tangarra was not a direct purchaser of debt,3 the Indictment does not

allege otherwise. Rather, the Indictment alleges that Defendant used Tangarra to purchase

the debt and that Defendant and Tamine concealed the fact that Edge, Tangarra, and

Tamine were acting at Defendant’s direction. See Exhibit 2, para. 6.

         Thus, the Motion’s allegation that the Indictment is false is especially perplexing in

light of the fact that it was Tamine, the controlling shareholder and director of Tangarra,

that provided the government with the very evidence supporting the allegations made in

the Indictment.

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 While government counsel confirmed that Tangarra was not a direct purchaser of debt,
government counsel never stated that the Indictment was false nor that the Indictment
ever alleged Tangarra was a direct purchaser

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                                      CONCLUSION

         The Motion fails to establish the threshold requirements that Tangarra was

accused of wrongdoing or is even entitled to redress in U.S. Courts. Its claim that the

Indictment was false is both unrelated to its legal position and, as described above,

entirely incorrect. Accordingly, the Court should deny the Motion.

Respectfully submitted this 9th day of August 2021,


                                                  DAVID A. HUBBERT
                                                  Acting Assistant
                                                  Attorney General
                                                  Tax Division


                                                  /s/ Lee Langston
                                                  COREY J. SMITH
                                                  Senior Litigation Counsel
                                                  Department of Justice
                                                  Tax Division
                                                  Mass Bar No. 553615
                                                  corey.smith@usdoj.gov
                                                  Tele: (202) 514-5230
                                                  LEE LANGSTON
                                                  CHRISTOPHER MAGNANI
                                                  Trial Attorneys
                                                  Department of Justice
                                                  Tax Division
                                                  Attorneys for United States of America




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                               Certificate of Service

        I the undersigned do hereby certify that on August 9, 2021, I electronically
filed the foregoing with the Clerk of Court using the ECF electronic filing system,
which will send notice of electronic filing to Defendant and Petitioner’s counsel of
record.

                                                 /s/ Lee Langston
                                                 Trial Attorney
                                                 Department of Justice
                                                 Tax Division
                                                 Lee.F.Langston@usdoj.gov
                                                 (202) 353-0036




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